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                                             16                           UNITED STATES DISTRICT COURT
                                             17                       CENTRAL DISTRICT OF CALIFORNIA
                                             18

                                             19 KRISTIN BIORN,                            Case No. CV15-07102 CAS (KSx)
                                                                                          [Consolidated with Case No.
                                             20              Plaintiff,                   CV15-09397 CAS (KSx)]
                                             21        v.                                 PLAINTIFFS’ MEMORANDUM OF
                                             22                                           POINTS AND AUTHORITIES IN
                                                  WRIGHT MEDICAL TECHNOLOGY,              OPPOSITION TO DEFENDANT
                                             23 INC., a Delaware corporation; and         MICROPORT ORTHOPEDICS,
                                                  MICROPORT ORTHOPEDICS, INC.,            INC.’S MOTION FOR SUMMARY
                                             24 a Delaware corporation.                   JUDGMENT
                                             25
                                                             Defendants.
                                             26                                            Judge:     Hon. Christina A. Snyder
                                                                                           Crtrm.:    8D, 8th Floor
                                             27

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                                                         PLAINTIFFS’ OPPOSITION TO DEFENDANT MICROPORT ORTHOPEDICS, INC.’S
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                                              1 RICHARD B. SARAFIAN,                      Date:      November 13, 2017
                                                                                          Time:      10:00 a.m.
                                              2
                                                            Plaintiff,                    Crtrm:     8D
                                              3
                                                      v.                                  Trial:     December 5, 2017
                                              4
                                                  WRIGHT MEDICAL TECHNOLOGY,
                                              5 INC., a Delaware corporation;

                                              6 MICROPORT ORTHOPEDICS, INC.,
                                                a Delaware corporation; and DOES 1-
                                              7 10,

                                              8             Defendants.
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                    Attorneys at Law




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                                                        PLAINTIFFS’ OPPOSITION TO DEFENDANT MICROPORT ORTHOPEDICS, INC.’S
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                                              1                 MEMORANDUM OF POINTS AND AUTHORITIES
                                              2 I.       INTRODUCTION
                                              3          Defendant MicroPort Orthopedics, Inc. (hereinafter “MicroPort”) fails to
                                              4 carry its burden on summary judgment as to Plaintiffs Richard B. Sarafian’s and

                                              5 Kristin Biorn’s (herein after “Sarafian and Biorn”) claims for negligence, negligent

                                              6 failure to recall/retrofit, fraudulent misrepresentation, fraudulent concealment,

                                              7 negligent misrepresentation, and punitive damages. The record before the Court

                                              8 establishes that there are genuine issues of material fact regarding: (1) whether

                                              9 MicroPort’s failure to provide a post-sale warning was reasonable under the

                                             10 circumstances; (2) whether MicroPort’s failure to recall or retrofit was unreasonable

                                             11 under the circumstances; and (3) whether MicroPort’s intentional concealment of

                                             12 known safety risks from surgeons and patients constitute clear and convincing
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                                             13 evidence of malice, fraud or oppression.

                                             14          Plaintiffs suffered catastrophic injuries as a result of the flawed design of the
                                             15 CoCr modular neck, and the evidence reveals that MicroPort’s failure to warn of the

                                             16 known dangers of the component was the cause. Before the launch of the CoCr

                                             17 modular neck in 2009, Wright, MicroPort’s predecessor, manufactured and sold a

                                             18 virtually identical component, the PROFEMUR titanium modular neck. A review of

                                             19 the evidence in this case demonstrates that the long titanium modular neck has a

                                             20 well-documented failure history that foreshadowed the dangers of the CoCr modular

                                             21 neck. By 2008, based on the failure history of the titanium modular neck, Wright

                                             22 had all the information that would have led a reasonable medical device

                                             23 manufacturer to halt production of the CoCr modular neck. However, prioritizing

                                             24 profits over patient safety, Wright rushed the CoCr modular neck to market without

                                             25 adequate testing, and continued to sell the device even after it became clear that the

                                             26 CoCr modular necks suffered from the same design defect as the titanium modular

                                             27 necks.

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                                                          PLAINTIFFS’ OPPOSITION TO DEFENDANT MICROPORT ORTHOPEDICS, INC.’S
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                                              1         MicroPort purchased the entire PROFEMUR product line from Wright in
                                              2 January, 2014. Through the corporate knowledge which was immediately obtained

                                              3 at the time of the sale, MicroPort became aware of the inherent risk of fracture

                                              4 associated with the CoCr modular neck. Despite this knowledge, MicroPort

                                              5 downplayed the increasing number of fractures, even after the evidence regarding

                                              6 the CoCr’s inherent defects started mounting. MicroPort failed to recall the device

                                              7 or to provide a clear and specific warning to surgeons or patients regarding the true

                                              8 risks of fatigue fracture for more than a year and a half after initially becoming

                                              9 aware of the problem. For Plaintiffs, the delay was catastrophic.

                                             10 II.     STATEMENT OF FACTS
                                             11         A.      By 2004 Wright Was Aware Of The Risks Of The PROFEMUR
                                             12                 Modular Neck, But Concealed Those Risks From The Public
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                                                        The complete PROFEMUR Hip System is comprised of two separate
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                                             13

                                             14 component parts: a PROFEMUR tapered stem and a PROFEMUR modular neck.

                                             15 The two components are joined together at the oval taper junction, also known as

                                             16 the neck-stem interface. Wright launched the PROFEMUR line domestically in the

                                             17 early 2000s. SGD 1. At that time, the modular neck component was manufactured

                                             18 only in titanium alloy. Shortly thereafter, in 2005, Wright began receiving notice of

                                             19 PROFEMUR neck fractures at the oval taper junction. SGD 2.

                                             20         By October 2008, Wright was aware of at least twenty-nine modular neck
                                             21 fractures, and was forced to address the rising failure rate through an internal

                                             22 investigation mandated by the Food and Drug Administration (“FDA”), a Corrective
                                                                                   1
                                             23 and Preventive Action (“CAPA”). SGD 3. The investigation revealed that all of the

                                             24
                                                  1
                                             25   The FDA requires that all manufacturing companies establish and maintain
                                                procedures for implementing a CAPA process, which identifies the action(s) needed
                                             26 to correct and prevent recurrence of a nonconforming product and other quality
                                                problems. 21 CFR 820.100 (2017). The purpose of a CAPA investigation is to
                                             27 collect and analyze information, identify and investigate product and quality
                                                problems, and take appropriate and effective corrective and/or preventive action to
                                             28 (footnote continued)
                                                                                          2
                                                          PLAINTIFFS’ OPPOSITION TO DEFENDANT MICROPORT ORTHOPEDICS, INC.’S
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                                              1 reported modular neck fractures occurred at the oval taper junction, the very

                                              2 location where Sarafian’s and Biorn’s modular necks fractured. SGD 4. By

                                              3 December of 2008 the reported number of fractures had grown to thirty-five. SGD

                                              4 5. That same year a CRITT Report concluded that the titanium modular neck failure

                                              5 was not due to “bad material” or a “metallurgic defect[],” placing in question the

                                              6 design of the component, not its titanium composition. SGD 6.

                                              7         While internally grappling with the increasing number of reported titanium
                                              8 modular neck fractures, Wright concealed from Dr. Snibbe, Mr. Sarafian’s and Ms.

                                              9 Biorn’s implanting surgeon, and the orthopedic community, the extent and severity

                                             10 of the problem. SGD 7. Instead of warning orthopedic surgeons of the dangers

                                             11 posed by the PROFEMUR modular neck design, Wright minimized the fractures as

                                             12 isolated occurrences that happened only in overweight, “high demand” patients.
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                                             13 SGD 8.

                                             14
                                                        B.    Wright Launched The CoCr Modular Neck But Quickly Learned
                                             15
                                                              It Suffered From The Same Defects As Were Seen In Titanium
                                             16               Modular Necks
                                             17         To protect the profitability of its PROFEMUR product line, Wright scrambled
                                             18 to replace the titanium neck with a “substantially equivalent” component that could

                                             19 integrate seamlessly with the PROFEMUR stem.2 In 2009 Wright introduced the

                                             20 CoCr modular neck to the public. SGD 12. Wright touted the CoCr modular neck

                                             21

                                             22
                                                  prevent or minimize device failures. Id.
                                             23   2
                                                    Before marketing the CoCr modular neck, Wright had to obtain authorization from
                                             24   the Food and Drug Administration (“FDA”), and the fastest approach to getting a
                                                  product cleared is through the 510(k) application process. SGD 9. In order to receive
                                             25
                                                  510(k) clearance, Wright had to establish that the CoCr modular neck was
                                             26   substantially equivalent to a legally marketed device, known as a predicate device.
                                                  In its submission to the FDA, Wright represented that the predicate device of the
                                             27
                                                  CoCr modular neck was the titanium modular neck. SGD 10, 11.
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                                                         PLAINTIFFS’ OPPOSITION TO DEFENDANT MICROPORT ORTHOPEDICS, INC.’S
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                                              1 for its “superior strength,” and ability to provide greater stability to more active,

                                              2 demanding patients. SGD 13.

                                              3        On June 17, 2013, Wright received notice of the first CoCr modular neck
                                              4 fracture. SGD 14. Wright’s internal records confirm that this fracture occurred at the

                                              5 oval taper junction, but Dr. Snibbe was never notified of this fracture. SGD 15.

                                              6        If Dr. Snibbe had known of the actual risks associated with the CoCr modular
                                              7 neck, he would not have utilized it in either Sarafian’s or Biorn’s hip replacement

                                              8 surgery. SGD 16. Had Dr. Snibbe learned of these risks after Plaintiffs’ respective

                                              9 implantation surgeries but before their catastrophic failures, he would have notified

                                             10 Sarafian and Biorn of the true fracture risk and would have discussed the possibility

                                             11 of a planned revision surgery to replace the defective modular neck component.

                                             12 SGD 17. Similarly, had Sarafian and Biorn been advised of the fracture risk before
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                                             13 their devices fractured they would have undergone a planned revision surgery. SGD

                                             14 18. In a planned revision surgery the surgeon can remove the modular neck from the

                                             15 stem without cutting through the patient’s bone, muscles, and tendons, as is required

                                             16 in an emergency trochanteric osteotomy after implant fracture. SGD 19.

                                             17
                                                       C.    Despite Continuing Reports Of Both CoCr and Titanium Modular
                                             18
                                                             Neck Failures, MicroPort Failed To Recall Or Provide Post-Sale
                                             19              Warnings To Plaintiffs
                                             20        In early 2013, a Wright consultant warned the company of a serious corrosion
                                             21 problem involving the CoCr modular necks. In a series of emails to various Wright

                                             22 corporate executives, including its president, Dr. Lowry Barnes, an experienced

                                             23 orthopedic surgeon and Wright consultant, expressed grave concerns regarding the

                                             24 CoCr modular neck. He was experiencing clinical failures in his patients, and urged

                                             25 Wright to pull the component from the market without further delay. SGD 20.

                                             26 Wright elected to disregard Dr. Barnes’ warnings, and kept the CoCr modular necks

                                             27 on the market. Instead, it turned its focus to selling its hip and knee division to

                                             28 MicroPort.
                                                                                          4
                                                        PLAINTIFFS’ OPPOSITION TO DEFENDANT MICROPORT ORTHOPEDICS, INC.’S
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                                              1        On January 9, 2014, Wright sold its OrthoRecon Division to MicroPort
                                              2 Orthopedics, Inc. (“MicroPort”). The OrthoRecon Division was the hip division

                                              3 responsible for the design, manufacture, marketing, and sale of the CoCr modular

                                              4 neck. SGD 21. As part of the acquisition, a majority of Wright’s employees

                                              5 responsible for the engineering, design, testing, marketing, and complaint tracking

                                              6 of the PROFEMUR product line immediately transitioned to MicroPort, which took

                                              7 over Wright’s facilities. SGD 22. Accordingly, all of Wright’s institutional

                                              8 knowledge was transferred to MicroPort at the time of the sale. Id. It was a seamless

                                              9 and instantaneous transfer at the date of the closing. By then, there were already

                                             10 three reported CoCr modular neck fractures of which Wright (and now MicroPort)

                                             11 were aware. SGD 23.

                                             12        As the new manufacturer of the PROFEMUR system, MicroPort also
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                                             13 inherited Wright’s obligations of complaint reporting, post-market testing, and post-

                                             14 sale warnings to consumers (SGD 24) – obligations which MicroPort initially

                                             15 ignored. SGD 25.

                                             16        Unable to ignore the increasing rate of fracture any longer, on July 9, 2014,
                                             17 MicroPort initiated a CAPA internal investigation to assess the risks posed by the

                                             18 CoCr modular neck. SGD 26. Fracture analyses confirmed that all failed necks

                                             19 fractured at the oval taper junction, and exhibited the same signs of fretting and

                                             20 corrosion as was seen in the titanium modular neck fractures. SGD 27. MicroPort’s

                                             21 investigative team recognized that CoCr modular necks were fracturing at a high

                                             22 rate, and ultimately recommended that the company cease manufacturing the

                                             23 component and “remove any existing inventory from the market.” Id.

                                             24        In conjunction with the CAPA 290 investigation, in February 2015, at
                                             25 MicroPort’s request, Brad James, a principal engineer at Exponent (where two of

                                             26 Defendants’ experts in this case work) examined and analyzed two fractured CoCr

                                             27 necks that exhibited substantial fretting corrosion at the oval taper junction. SGD 28.

                                             28 Notably, Brad James found that the fatigue cracks in the fractured neck components
                                                                                         5
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                                              1 initiated from within the oval taper junction in the exact manner in which the

                                              2 titanium modular necks had fractured. SGD 29. Still, MicroPort took no immediate

                                              3 action to notify surgeons or remove the product from the market. CoCr modular

                                              4 necks continued to fracture. SGD 30-32.

                                              5        MicroPort continued to receive reports of modular neck fractures after
                                              6 Plaintiffs’ implantation surgeries. By January 9, 2015, the total number of CoCr

                                              7 fractures reported had climbed to fourteen. SGD 30. On April 5, 2015, the day

                                              8 Biorn’s CoCr modular neck fractured, Wright was aware of nineteen other CoCr

                                              9 modular neck fractures. SGD 31. When Sarafian’s CoCr modular neck fractured, the

                                             10 reported number of fractures had risen to twenty-eight. SGD 32.

                                             11        On August 7, 2015, almost 20 months after first acquiring the PROFEMUR
                                             12 line, MicroPort finally announced a recall of the CoCr modular neck and pulled the
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                                             13 defective device from the market.

                                             14 III.   SUMMARY JUDGMENT STANDARD
                                             15        Summary judgment is to be granted only if the pleadings and supporting
                                             16 documents, viewed in the light most favorable to the non-moving party, show that

                                             17 there is no genuine issue of material fact such that the moving party is entitled to

                                             18 judgment as a matter of law. Evon v. Law Offices of Sidney Mickell, 688 F.3d 1015,

                                             19 1024 (9th Cir. 2012). The moving party has the burden of establishing that there are

                                             20 no material disputes of fact. Campbell v. State Dept. of Soc. & Health Servs., 671

                                             21 F.3d 837, 849 (9th Cir. 2011). In considering the motion, the Court “must draw all

                                             22 reasonable inferences in favor of the nonmoving party.” Samuels v. Holland Am.

                                             23 Line-USA, Inc., 656 F.3d 948, 952 (9th Cir. 2011). The “central issue is ‘whether the

                                             24 evidence presents a sufficient disagreement to require submission to a jury or

                                             25 whether it is so one-sided that one party must prevail as a matter of law.’” Id. citing

                                             26 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986). “Where material

                                             27 factual disputes exist, the court must allow a jury to resolve them.” Rezner v.

                                             28 Bayerische Hypo-Und Vereinsbank AG, 630 F.3d 866, 871 (9th Cir. 2010). In this
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                                              1 case, material factual issues exists as to each of Plaintiffs’ causes of action, and

                                              2 therefore summary judgment is improper.

                                              3 IV.     ARGUMENT
                                              4         A.    Defendant’s Motion Is Not Supported By Admissible Evidence
                                              5         To support its Motion for Summary Judgment, MicroPort relies on the
                                              6 unsworn expert reports of Steven Kurtz and Harold Pellerite. However, in the Ninth

                                              7 Circuit, “it is well established that unsworn expert reports are inadmissible and

                                              8 cannot be used to create a triable issue of fact for purposes of summary judgment.”

                                              9 Liebling v. Novartis Pharm. Corp., No. 11-CV-10263 MMM (MRWx), 2014 U.S.

                                             10 Dist. LEXIS 195476, at *2-3 (C.D. Cal. Mar. 24, 2014); King Tuna, Inc. v. Anova

                                             11 Food, Inc., No. 07-CV-7451 ODW (JWJX), 2009 U.S. Dist. LEXIS 22901, at *1

                                             12 (C.D. Cal. Mar. 10, 2009) (stating “[i]t is well-settled that under Fed. R. Civ. P.
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                                             13 56(e), unsworn expert reports are not admissible to support or oppose summary

                                             14 judgment” and that “to be competent summary judgment evidence, an expert report

                                             15 must be sworn to or otherwise verified, usually by a deposition or affidavit.”);

                                             16 Munchkin, Inc. v. Luv N’ Care, Ltd., No. 2:13-cv-07228 ODW (AGRx), 2015 U.S.

                                             17 Dist. LEXIS 189539, at *6 (C.D. Cal. Jan. 21, 2015) (stating “[i]n order to be

                                             18 competent summary judgment evidence, an expert report must be sworn to or

                                             19 otherwise verified, usually by a deposition or affidavit”).

                                             20         Therefore, expert opinions are admissible only where “the factual basis for
                                             21 the opinion is stated in the affidavit.” Romero v. Nev. Dep’t of Corr., No. 2:08-cv-

                                             22 808 JAD (VCF), 2013 U.S. Dist. LEXIS 168736, at *42 (D. Nev. Nov. 27, 2013)

                                             23 citing Bulthuis v. Rexall Corp., 789 F.2d 1315, 1318 (9th Cir. 1985). The opinions

                                             24 of Steven Kurtz and Harold Pellerite are contained in an unsworn expert report

                                             25 unaccompanied by any expert affidavit or declaration. See Decl. of Ryan O’Neil in

                                             26 Supp. of Def. Mot. for Summ. J. at Ex. C and Ex. U. Such unsworn reports cannot

                                             27 be considered as competent summary judgment evidence.

                                             28 / / /
                                                                                           7
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                                              1        B.     As A Successor Manufacturer, MicroPort Has A Continuing Duty
                                                              To Warn Patients Of Risks Associated With The PROFEMUR
                                              2               System
                                              3        In California, manufacturers of prescription medical devices, such as the
                                              4 CoCr modular necks at issue here, have a continuing duty to warn of the dangers

                                              5 associated with their product. CACI 1205, 1222 (stating “[defendant] had a

                                              6 continuing duty to warn physicians as long as the product was in use”); see also

                                              7 Valentine v. Baxter Healthcare Corp., 68 Cal. App. 4th 1467, 1482 (1999)

                                              8 (upholding a verdict where the jury was instructed that “[a] manufacturer’s duty to

                                              9 warn is a continuous duty which lasts as long as the product is in use . . . the

                                             10 manufacturer must continue to provide physicians with warnings, at least so long as

                                             11 it is manufacturing and distributing the product.”).

                                             12        Numerous California decisions have explicitly or implicitly recognized a
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                                             13 manufacturer’s continuing duty to warn. See Lunghi v. Clark Equipment Co., 153

                                             14 Cal. App. 3d 485, 494 (1984) (finding that defendant’s post-sale “knowledge of the

                                             15 injuries caused by [its product] imposed a duty to warn of the danger, and/or a duty

                                             16 to conduct an adequate retrofit campaign”); see also Oxford v. Foster Wheeler LLC,

                                             17 177 Cal. App. 4th 700, 721 (2009) (stating “negligence of a manufacturer may be

                                             18 established by a failure to act after the product has been distributed to its end

                                             19 user”); Torres v. Xomox Corp., 49 Cal. App. 4th 1, 16 (1996) (finding that a “duty to

                                             20 warn may also arise if it is later discovered that the product has dangerous

                                             21 propensities, and breach of that duty is a form of negligence”); see also Rosa v.

                                             22 Taser Int’l, Inc., 684 F.3d 941, 949 (9th Cir. 2012) (holding “though California law

                                             23 measures the strict liability duty to warn from the time a product was distributed, a

                                             24 manufacturer may be liable under negligence for failure to warn of a risk that was

                                             25 subsequently discovered”). In this case, MicroPort gained knowledge of modular

                                             26 neck fracture risks directly from its former Wright employees, and by virtue of

                                             27 CRITT reports, its CAPA investigation, and complaint files. SGD 22. None of this

                                             28 important information was communicated to doctors, including Dr. Snibbe. See
                                                                                    8
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                                              1 SGD 15. This material information should have been provided to users of the device

                                              2 in the form of a clear and specific warning and immediate recall of the product.

                                              3
                                                              1.     The Continuing Duty To Warn Extends To Successor
                                              4                      Entities Like MicroPort
                                              5        Under both Federal regulatory authority and California case law, “It is clear
                                              6 that a successor corporation may acquire an independent duty to warn where defects

                                              7 in a predecessor’s products come to its attention.” Gee v. Tenneco, Inc., 615 F.2d

                                              8 857, 866 (9th Cir. 1980).

                                              9        By virtue of the extensive rules and regulations governing the medical device
                                             10 industry, a successor manufacturer steps into the shoes of a predecessor with respect

                                             11 to the duties of reporting on and warning of defects. See 21 C.F.R. 820.3; 21 C.F.R.

                                             12 803.50. The FDA regulatory scheme contemplates that at all times there will be a
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                                             13 designated manufacturer – here, the holder of a 510(k) clearance – responsible for
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                                             14 the reporting requirements and responsibilities for the entire product line, regardless

                                             15 of date of manufacture or the sale of the line between device manufacturers. Id.; see

                                             16 also 21 C.F.R. 820 et seq. Here, MicroPort assumed those duties as a matter of law

                                             17 when it purchased the 510(k) clearance for the PROFEMUR line in January, 2014.

                                             18 GSD 24. This extensive federal regulatory oversight is critical to monitor patient

                                             19 safety for permanently implanted devices such as the CoCr modular necks, as it

                                             20 assures that devices will continue to be monitored regardless of the corporate status

                                             21 of the original manufacturer.

                                             22        When MicroPort became the manufacturer of the PROFEMUR line, it
                                             23 stepped into the shoes of Wright and automatically assumed the duties and

                                             24 obligations imposed by federal law, including post-market surveillance and

                                             25 reporting. 21 C.F.R. 820 et seq. MicroPort’s duty to maintain complaint files, issue

                                             26 warnings and recalls, and update product labeling and marketing was thus the same

                                             27 as its predecessor Wright’s, and derives from its status as the current manufacturer

                                             28 of the product. Id.; see also 21 C.F.R. 806; 21 C.F.R. 803. It is precisely this duty, to
                                                                                           9
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                                              1 provide adequate and effective warnings regarding complaints and product defects,

                                              2 that was breached when MicroPort failed to send clear and specific warnings to

                                              3 doctors of the CoCr necks’ propensity to break. See Burroughs v. Precision

                                              4 Airmotive Corp., 78 Cal. App. 4th 681, 702 (2000) (finding a similar duty with

                                              5 respect to a successor entity producing airplane components under the FAA.)

                                              6
                                                              2.    MicroPort Gained Knowledge Of The Increased Risk Of
                                              7                     Fracture Associated With CoCr Modular Necks Which
                                                                    Triggered Their Duty To Warn
                                              8

                                              9        A manufacturer’s duty to provide a post-sale warning is triggered as soon as
                                             10 the manufacturer becomes aware of any new danger associated with the product. See

                                             11 Roberts v. Electrolux Home Prods., No. 12-CV-1644 CAS (VBKx), 2013 U.S. Dist.

                                             12 LEXIS 185488, at *39-40 (C.D. Cal. Mar. 4, 2013); Lunghi, 153 Cal. App. 3d at 494
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                                             13 (holding that the defendant’s discovery of the “dangerous propensities” of a
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                                             14 machine after it had been on the market imposed a duty to warn or retrofit).

                                             15        MicroPort admits that it “noticed an unexpected increase in fractures
                                             16 associated with the PROFEMUR CoCr neck” in 2014, after it had purchased the

                                             17 PROFEMUR line from Wright. Mot. Summ. J. 5:20-21. This apparently newfound

                                             18 discovery as to the product’s dangerous propensities created a duty on the part of

                                             19 MicroPort to issue a warning to surgeons and patients as to the newly discovered

                                             20 increased risk of fracture. Lunghi, 153 Cal. App. 3d at 494. This is especially true

                                             21 given the fact that MicroPort learned not only of an increased rate of fractures, but

                                             22 that the fractures were occurring in patients who were not high-activity, heavy-

                                             23 weight patients; a fact which expressly contradicted Wright’s previous marketing

                                             24 materials regarding which patients were at an increased risk of fracture. SGD 30-32

                                             25        These new facts showing an increased risk of danger associated with the
                                             26 CoCr modular necks triggered a duty on the part of MicroPort to provide post-sale

                                             27 warnings to all surgeons and patients who had CoCr modular neck implants.

                                             28 However, MicroPort failed to satisfy its duty to provide such a warning. In fact, it is
                                                                                          10
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                                              1 unknown whether MicroPort could have satisfied its duty even if it chose to, as

                                              2 MicroPort had neglected to continue to participate in FDA-mandated patient

                                              3 tracking since purchasing the PROFEMUR line. SGD 25. MicroPort’s wholesale

                                              4 abdication of its duties to provide post-sale warnings to CoCr patients and their

                                              5 surgeons creates a triable issue of fact as to Plaintiffs’ negligence claim.

                                              6
                                                       C.     Material Facts Support Plaintiffs’ Negligence – Failure To
                                              7               Recall/Retrofit Claim
                                              8        To establish a claim for negligent failure to recall or retrofit, a plaintiff must
                                              9 establish: (1) that the defendant manufactured or sold the product, (2) that defendant

                                             10 knew or reasonably should have known that the product was dangerous or was

                                             11 likely to be dangerous when used in a reasonably foreseeable manner, (3) that the

                                             12 defendant became aware of this defect after the product was sold, (4) that the
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                                             13 defendant failed to recall the product, (5) that a reasonable manufacturer or seller
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                                             14 under the same or similar circumstances would have recalled the product, (6) that

                                             15 the plaintiff was harmed, and (7) that the defendant’s failure to recall the product

                                             16 was a substantial factor in causing plaintiff’s harm. CACI 1223.

                                             17        As MicroPort admits, California law recognizes that a duty to recall or retrofit
                                             18 a product can arise due to either a shift in industry standards or post-sale knowledge

                                             19 that puts a manufacturer on notice of a dangerous product defect. Roberts, 2013 U.S.

                                             20 Dist. LEXIS 185488, at *39-40; Lunghi, 153 Cal. App. 3d at 494 (holding that the

                                             21 defendant’s discovery of the “dangerous propensities” of a machine after it had been

                                             22 on the market imposed a duty to warn or retrofit). Once a manufacturer is on notice

                                             23 that its product is dangerous, it must do “everything reasonably within its power to

                                             24 prevent injury.” Hernandez v. Badger Constr. Equip. Co., 28 Cal. App. 4th 1791,

                                             25 1828 (1994); Balido v. Improved Mach., Inc., 29 Cal. App. 3d 633, 649 (1972).

                                             26        By 2014, MicroPort was aware that the CoCr necks suffered from the same
                                             27 defects and were prone to the same fatigue fracture as the titanium modular necks.

                                             28 SGD 26-28. That information, alone, constituted a reason to recall the PROFEMUR
                                                                                       11
                                                         PLAINTIFFS’ OPPOSITION TO DEFENDANT MICROPORT ORTHOPEDICS, INC.’S
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                                              1 CoCr necks. SGD 24, 26-30. Instead, MicroPort elected to keep the CoCr modular

                                              2 necks on the market, without so much as issuing an additional warning or providing

                                              3 information to surgeons regarding the known fractures. Thus, MicroPort did not

                                              4 satisfy its obligation to do everything within its power to prevent injury resulting

                                              5 from the known dangers of fatigue fracture which MicroPort knew existed.

                                              6 MicroPort’s failure to timely act creates a material issue of fact and therefore

                                              7 summary judgment on Plaintiffs’ claims for negligent failure to recall should be

                                              8 denied.

                                              9
                                                       D.     MicroPort’s Failure To Warn And Failure To Timely Recall Was
                                             10               A Proximate Cause of Plaintiffs’ Injuries
                                             11        MicroPort attempts to meet its burden on summary judgment by asserting that
                                             12 “there is no evidence . . . that Plaintiffs’ PROFEMUR modular necks would have
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                                             13 been revised prophylactically . . . if MicroPort had issued the voluntary recall at an
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                                             14 earlier time.” Mot. Summ. J. 9:4-9. However, such an assertion is insufficient, as a

                                             15 matter of law, to satisfy Defendant’s obligations as the moving party. Under Rule

                                             16 56, a party who does not bear the burden of proof at trial may discharge

                                             17 its burden on summary judgment either by “produc[ing] evidence negating an

                                             18 essential element of the nonmoving party’s case, or, after suitable discovery, . . .

                                             19 [by] show[ing] that the nonmoving party does not have enough evidence of an

                                             20 essential element of its claim or defense to carry its ultimate burden of persuasion at

                                             21 trial.” Hernandez v. City of Oakley, No. C-11-02415 JCS, 2012 U.S. Dist. LEXIS

                                             22 159256, at *69-70 (N.D. Cal. Nov. 6, 2012).

                                             23        Here, MicroPort states that neither Ms. Biorn nor Mr. Sarafian, at their
                                             24 depositions, volunteer that they would have agreed to a scheduled revision. This

                                             25 falls far short of establishing that Ms. Biorn and Mr. Sarafian cannot prove that fact

                                             26 at trial, especially as counsel for MicroPort failed to ask Plaintiffs whether they

                                             27 would have agreed to a scheduled revision had they known of the true risks

                                             28 associated with their CoCr modular necks. SGD 18.
                                                                                       12
                                                          PLAINTIFFS’ OPPOSITION TO DEFENDANT MICROPORT ORTHOPEDICS, INC.’S
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                                              1         Had MicroPort issued a recall of the CoCr modular necks when it became
                                              2 aware of fractures in January, 2014, or even warned of the true risks associated with

                                              3 the CoCr modular necks at that time, Dr. Snibbe would have provided that

                                              4 information to Plaintiffs. SGD 17. Plaintiffs, in turn, would have sought scheduled,

                                              5 non-emergency revision surgeries to avoid the risk of an emergency trochanteric

                                              6 osteotomy which causes trauma to the bone, muscle and tissue. SGD 18. However,

                                              7 both Plaintiffs were prevented from making that decision due to MicroPort’s failure

                                              8 to provide information to Dr. Snibbe of the true risks of the CoCr modular neck.

                                              9 Accordingly, their CoCr modular necks continued to be subjected to corrosion and

                                             10 fretting, and their fatigue fractures continued to propagate for over a year while

                                             11 MicroPort concealed this information from surgeons and their patients.

                                             12
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                                                        E.    MicroPort Concealed Material Facts Of The Number Of Fatigue
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                                             13               Fractures At the Oval Taper Junction From Dr. Snibbe And The
                                             14               Orthopedic Community

                                             15         MicroPort misconstrues Plaintiffs’ fraudulent concealment claims. The claims
                                             16 against MicroPort are derived from MicroPort’s failure to disclose relevant

                                             17 information of the increased risk of fracture of the CoCr after January, 2014, which

                                             18 would have allowed Plaintiffs to obtain non-emergency revision surgeries before

                                             19 their CoCr modular necks fractured. By January, 2014, and certainly by January,

                                             20 2015, MicroPort knew and understood that CoCr modular necks were fracturing at a

                                             21 higher rate than expected, and that they were fracturing in patients who were

                                             22 previously thought to have no contraindications, including lighter-weight and low

                                             23 activity patients. SGD 26, 28-29, 30-32. Despite this knowledge, MicroPort failed to

                                             24 convey that information to doctors or patients, which ultimately deprived them of

                                             25 the option to obtain a non-emergency revision. SGD 18. This omission, alone, is

                                             26 sufficient to create a triable issue of material fact sufficient to defeat MicroPort’s

                                             27 motion for summary judgment.

                                             28 / / /
                                                                                          13
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                                              1        All of the cases cited in support of MicroPort’s argument that there is no post-
                                              2 sale duty to warn are distinguishable. Tomek v. Apple, Inc. dismissed the plaintiff’s

                                              3 fraudulent concealment claims at the pleading stage because the plaintiff had failed

                                              4 to plead specific facts to show the defendant knew it’s claims were false at the time

                                              5 they were made. Tomek v. Apple, Inc., 636 Fed. Appx. 712, 713-14 (9th Cir. 2016).

                                              6 Likewise, in both Elias v. Hewlett-Packard Co. and Resnick v. Hyundai Motor Am.,

                                              7 Inc., the Court dismissed the plaintiffs’ claims, at the pleading stage, due to

                                              8 inadequate pleading. Elias v. Hewlett-Packard, Co., No. 12-CV-00421(LHK), 2014

                                              9 U.S. Dist. 16836, at *22 (N.D. Cal. Feb 5, 2014); Resnick v. Hyundai Motor Am.,

                                             10 Inc., No. CV 16-00593-BRO (PJWx), 2016 U.S. Dist. LEXIS 160179, at * 46 (C.D.

                                             11 Cal. Nov. 14, 2016).

                                             12        In contrast, the undisputed facts of this case establish that MicroPort was
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                                             13 actually aware, and tracking, CoCr fractures as early as May, 2014. See SGD 23, 26,

                                             14 30. Thus, MicroPort was aware that CoCr modular necks were fracturing at an

                                             15 increased rate, and fracturing in patients for which the device was not

                                             16 contraindicated. In addition it had knowledge that the fatigue fractures were

                                             17 occurring in the same location as the titanium predecessor device. GSD 27, 29.

                                             18 MicroPort’s knowledge, coupled with its concealment of important safety

                                             19 information from doctors and patients, constitutes fraud sufficient to create a triable

                                             20 issue of material fact as to Plaintiffs’ claim for fraudulent concealment.

                                             21
                                                       F.     Material Facts Support Plaintiffs’ Fraudulent Misrepresentation
                                             22               Claim
                                             23        The elements of fraud are: “(a) misrepresentation (false representation,
                                             24 concealment, or nondisclosure); (b) knowledge of falsity (or ‘scienter’); (c) intent to

                                             25 defraud, i.e., to induce reliance; (d) justifiable reliance; and (e) resulting damage.”

                                             26 Engalla v. Permanente Medical Group, Inc., 15 Cal. 4th 951, 974 (1997) (internal

                                             27 quotation marks omitted). “[A] representation may be made orally, in writing, or by

                                             28 nonverbal conduct.” See Thrifty-Tel, Inc. v. Bezenek, 46 Cal. App. 4th 1559, 1567
                                                                                        14
                                                         PLAINTIFFS’ OPPOSITION TO DEFENDANT MICROPORT ORTHOPEDICS, INC.’S
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                                              1 (1996).

                                              2         Concealment or non-disclosure of a material fact can support a fraudulent
                                              3 misrepresentation claim, where the concealment is calculated to induce a false

                                              4 belief. Outboard Marine Corp. v. Superior Court, 52 Cal. App. 3d 30, 37 (1975);

                                              5 see also Thrifty-Tel, Inc., 46 Cal. App. 4th at 1567 (stating “[a] misrepresentation

                                              6 need not be oral; it may be implied by conduct”); Universal By-Products, Inc. v.

                                              7 City    of   Modesto,    43    Cal.   App.    3d   145,    151    (1974)   (stating   “[a]
                                              8 misrepresentation need not be express but may be implied by or inferred from the

                                              9 circumstances”). The distinction between active concealment and affirmative

                                             10 misrepresentation is therefore not legally significant. Id. Both are fraudulent, and an

                                             11 active concealment has the same effect as a representation that is positive in form.

                                             12 Id.
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                                             13         Here, MicroPort failed to disclose the mounting number of titanium and CoCr
                                             14 modular neck fractures, despite knowing that the fractures were occurring at a

                                             15 higher rate than expected, and in patients who were originally believed to have no

                                             16 contraindications. SGD 30-32. By intentionally withholding these facts from Dr.

                                             17 Snibbe, MicroPort prevented Dr. Snibbe and his patients from learning of the

                                             18 specific dangers of their CoCr modular necks, and acting thereon. See SGD 15.

                                             19 Thus, triable issues of material fact exist as to Plaintiffs’ claims.

                                             20
                                                        G.    A Factual Dispute Exists With Respect to Plaintiffs’ Negligent
                                             21               Misrepresentation Claim
                                             22         A claim for negligent misrepresentation requires a showing of the same
                                             23 elements as fraudulent misrepresentation, except that plaintiffs need not show that

                                             24 the defendant was aware that the representation was false when made. It is sufficient

                                             25 to establish that the defendant lacks reasonable grounds for believing the

                                             26 representation to be true. R Power Biofuels, LLC v. Chemex LLC, No. 16-CV-00716

                                             27 LHK, 2016 U.S. Dist. LEXIS 156727, at *33 (N.D. Cal. Nov. 11, 2016) citing Nat’l

                                             28 Union Fire Ins. Co. of Pittsburgh, PA v. Cambridge Integrated Servs. Grp., Inc.,
                                                                                       15
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                                              1 171 Cal. App. 4th 35, 50 (2009).

                                              2        As set forth above, by January, 2014, and certainly by January, 2015,
                                              3 MicroPort knew and understood that CoCr modular necks were fracturing at a

                                              4 higher rate than expected, and that they were fracturing in patients which were

                                              5 previously thought to have no contraindications, including lighter-weight and low

                                              6 impact patients such as Ms. Biorn and Mr. Sarafian. SGD 23, 26, 30-32. However,

                                              7 MicroPort failed to alert doctors of the increased rate of fracture or of the mounting

                                              8 complaints it had received of fractured CoCr modular necks, and failed to issue any

                                              9 recall of the device until August, 2015, over a year and a half after it first obtained

                                             10 knowledge of CoCr modular neck fractures. See SGD 30-32. It was unreasonable for

                                             11 MicroPort to continue to assume, in 2015, that the CoCr modular necks were safe.

                                             12 See SGD 20. Nevertheless, MicroPort continued to impliedly make such a
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                                             13 representation to Plaintiffs, through Dr. Snibbe. Such conduct creates a triable issue

                                             14 of fact as to Plaintiffs’ negligent misrepresentation claim.

                                             15
                                                       H.     Material Facts Exist Which Support an Award of Punitive
                                             16               Damages
                                             17        The question of whether the defendant’s conduct will support an award of
                                             18 punitive damages is generally one for the trier of fact, “since the degree of

                                             19 punishment depends on the peculiar circumstances of each case.” Johnson &

                                             20 Johnson v. Superior Court, 192 Cal. App. 4th 757, 762 (2011). Even where the

                                             21 plaintiffs’ burden will ultimately be to establish punitive damages by “clear and

                                             22 convincing” evidence, the plaintiff is not obligated to prove a case for punitive

                                             23 damages at the summary judgment stage. Id. citing American Airlines, Inc. v.

                                             24 Sheppard, Mullin, Richter & Hampton, 96 Cal. App. 4th 1017, 1049 (2002).

                                             25 Therefore, summary judgment on the issue of punitive damages is proper only

                                             26 “when no reasonable jury could find the plaintiff’s evidence to be clear and

                                             27 convincing proof of malice, fraud or oppression.” Id. citing Hoch v. Allied-Signal,

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                                                         PLAINTIFFS’ OPPOSITION TO DEFENDANT MICROPORT ORTHOPEDICS, INC.’S
                                                                           MOTION FOR SUMMARY JUDGMENT
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                                              1 Inc., 24 Cal. App. 4th 48, 60-61 (1994); Spinks v. Equity Residential Briarwood

                                              2 Apartments, 171 Cal. App. 4th 1004, 1053 (2009).

                                              3         In January, 2014, MicoPort purchased the PROFEMUR system from Wright.
                                              4 SGD 21. At that time, MicroPort inherited Wright’s duties and obligations of

                                              5 complaint reporting, post-market testing, and post-sale warnings to consumers. SGD

                                              6 24. However, MicroPort elected to ignore these obligations; first seeking an

                                              7 exemption from their FDA reporting and tracking duties, and then flatly

                                              8 disregarding them after an exemption was denied. SGD 25. MicroPort’s failure to

                                              9 follow through on its post-market tracking and reporting is even more egregious as

                                             10 MicroPort was already aware, at the time it was negotiating with the FDA for an

                                             11 “exemption” from its reporting requirements, of a sharp uptick in the number of

                                             12 CoCr modular neck fractures. SGD 30, 31.
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                                             13         By January, 2014, and certainly by January, 2015, MicroPort knew and
                                             14 understood that CoCr modular necks were fracturing at a higher rate than expected,

                                             15 and in the same location as the titanium modular necks. SGD 20, 27-29, 30-31.

                                             16 However, MicroPort failed to notify surgeons for over a year and a half.

                                             17         MicroPort failed to provide any post-sale warnings to doctors or patients, and
                                             18 failed to issue a recall of the device until August 2015, over one and a half years

                                             19 after it first obtained knowledge of CoCr modular neck fractures. SGD 33. When a

                                             20 recall was finally initiated, the FDA classified it as a “Class I” recall. A class I recall

                                             21 is designated when there is a reasonable probability that use of the product will

                                             22 cause serious health consequences or death. Id.

                                             23         It was within MicroPort’s power, as the owner of the CoCr 510(k) clearance,
                                             24 to issue a recall of the device earlier in time. Instead, MicroPort elected to keep the

                                             25 CoCr modular necks on the market, without issuing an additional warning or

                                             26 providing information to surgeons regarding the known fractures. See SGD 20, 30-

                                             27 33. All of these facts taken in context, establish material issues of fact as to Wright’s

                                             28 willful and conscious disregard of the rights or safety of patients such as Ms. Biorn
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                                                         PLAINTIFFS’ OPPOSITION TO DEFENDANT MICROPORT ORTHOPEDICS, INC.’S
                                                                           MOTION FOR SUMMARY JUDGMENT
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                                              1 and Mr. Sarafian. Accordingly, Defendant’s Motion for Summary Judgment as to

                                              2 Plaintiffs’ claim for punitive damages should be denied.

                                              3 V.     CONCLUSION
                                              4        For the foregoing reasons, Defendant’s Motion for Partial Summary
                                              5 Judgment should be denied in its entirety.

                                              6 Dated: October 23, 2017             KIESEL LAW LLP
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                                                        PLAINTIFFS’ OPPOSITION TO DEFENDANT MICROPORT ORTHOPEDICS, INC.’S
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